       Case 1:18-cv-02268-AT-SN             Document 366        Filed 01/31/25       Page 1 of 5



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                                            January 31, 2025



VIA ECF

The Honorable Analisa Torres
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl St.
New York, NY 10007-1312

         Re:         Set Capital LLC, et al., v. Credit Suisse Group AG, et al., No. 18-CV-02268
                     (AT) (SN)

Dear Judge Torres:

        Throughout this litigation, Defendants repeatedly delayed discovery and impeded
Plaintiffs’ diligent prosecution of their case. Despite Defendants’ efforts, Plaintiffs uncovered the
specific details of how Credit Suisse manipulated XIV and ultimately caused its crash—namely,
by running up the price of VIX Futures through a combination of its own trading and by filling the
market with XIV short-sellers who Credit Suisse knew were incentivized to, and almost certainly
would, crash XIV out of existence. As promptly as possible after Plaintiffs adduced critical
evidence of Defendants’ fraud—just nine days after their Rule 30(b)(6) deposition of Credit Suisse
on topics relating to its lending—Plaintiffs moved for leave to amend the complaint to conform
their pleadings to that evidence. In their amendment, Plaintiffs did not add any claims or evidence,
nor change any defendants. Rather, Plaintiffs amended to plead and elaborate on the specific
mechanisms Defendants used to manipulate the price of XIV.

       Defendants opposed Plaintiffs’ motion to amend. Defendants primarily argued prejudice
and delay: that permitting Plaintiffs to amend the complaint would somehow require Defendants
to take additional discovery—notably, the very same discovery that Plaintiffs had sought and
Defendants had moved to quash. Defendants claimed that amendment would accordingly be
prejudicial and burdensome to Defendants because discovery had closed. The Magistrate Judge
adopted Defendants’ narrative, finding prejudice based on the (mis)characterization that the
amended complaint’s new factual allegations constituted a “significantly new theory of liability.”
Op. and Order at 7-8, Jan. 2, 2024, ECF No. 333 (“Opinion”).
     Case 1:18-cv-02268-AT-SN            Document 366        Filed 01/31/25     Page 2 of 5




The Honorable Analisa Torres
January 31, 2025
Page 2


        Unknown to this Court and Plaintiffs, however, at the exact same time that Defendants
were claiming “undue prejudice” based on the close of discovery and contended that they were
not responsible for any delays in discovery, 1 Defendants learned that a third-party vendor of
theirs had caused highly relevant Credit Suisse documents to not be produced in discovery. But
Defendants did not notify the Magistrate Judge, this Court, or Plaintiffs about this possibility in
February, when they first learned that they had failed to produce these relevant documents.2 They
again did not raise the issue in April, when Credit Suisse began “collecting[,] transferring[, and]
de-duplicating” the documents in question. And they still did not mention it when they identified
3,593 unique documents that Defendants had failed to produce. 3 Rather, they let Plaintiffs (but not
the Court) know on October 17, 2024—at least eight months after they were initially notified of
the potential issue—that they would be making a “small” production.

        In their January 17, 2025, response letter (ECF No. 365 (“Response Letter”)), Defendants
offer no explanation for their extensive delay. Defendants emphasize only that their initial failure
to produce the documents was their vendor’s fault (and apparently should accordingly be
disregarded, discovery obligations notwithstanding). See Response Letter at 1 (“the underlying
issue that led to the October 2024 Production was an inadvertent and technical one involving
Defendants’ vendor”); id. at 5 (“The Issue Resulting in the October 2024 Production Was Outside
Defendants’ Control and the Production Was Made As Soon As Practical”).

        Defendants’ finger pointing at their vendor is sleight of hand that should not be
determinative. Plaintiffs have never complained about Defendants’ initial failure to identify or
produce the documents, but instead accept Defendants’ counsel’s representations that Defendants
were unaware of the unproduced documents and that the initial failure to identify or produce them
was inadvertent. But it is not in dispute that Defendants deliberately waited months to notify
Plaintiffs, the Magistrate Judge, and this Court about these unproduced documents, while
simultaneously arguing that Plaintiffs should not be permitted to amend the complaint because
discovery was closed. If Plaintiffs had timely been made aware of the possibility that new



       1
        See, e.g., Pls.’ Objs. to Magistrate Judge Netburn’s Op. and Order, Jan. 30, 2023, ECF
No. 337 (“Objection”); Defs.’ Resp. to Pls.’ Objs. at 15, Feb. 29, 2024, ECF No. 338 (“Objection
Response”) (“[T]he delay was in no way Defendants’ fault.”).
       2
         Notably, it appears Defendants were on notice of the Bloomberg issue even before
February, as their letter states only that it was in February that they learned “the reported issue
could have impacted . . . collections in this matter[.]” Response Letter at 5.
       3
        Defendants have repeatedly declined to specify when they learned that 3,593 unproduced
documents were responsive. From Defendants’ most recent letter, however, this appears to have
occurred in April. See Response Letter at 5-6.
      Case 1:18-cv-02268-AT-SN            Document 366         Filed 01/31/25       Page 3 of 5




The Honorable Analisa Torres
January 31, 2025
Page 3


documents were going to be produced, with the previously missing documents eventually
identified and produced, the close of fact discovery would have been extended to allow for the
documents’ production, thus removing a key ground upon which the Magistrate Judge based her
decision. 4

         Plaintiffs’ Diligent Prosecution of this Case. Plaintiffs requested documents evidencing
Credit Suisse’s lending practices as early as October 2021. Objection at 9. Defendants objected
and failed to provide relevant documents until October 2022. Objection at 13. Plaintiffs attempted
to schedule depositions as early as November 2022, but Defendants delayed scheduling many
depositions until between January and April 2023. Objection at 10 n.11. During those depositions,
Plaintiffs questioned Defendants’ witnesses about Credit Suisse’s lending XIV Notes to short-
sellers, but Defendants’ witnesses were unable to answer critical questions about Credit Suisse’s
XIV lending practices. This lack of clarity prompted the Magistrate Judge, on March 1, 2023, to
grant Plaintiffs’ application for a Rule 30(b)(6) deposition, over Defendants’ objection. That
deposition took place on April 19, 2023. Just nine days later—and before the court-ordered
deadline 5—Plaintiffs filed the motion for leave to amend. 6 Ambac Assurance Corp. v. EMC Mortg.


       4
         Defendants claim that they had no obligation to raise their earlier discovery failures until
they could specify the exact number of documents that would ultimately be produced. See
Response Letter at 6 (“[I]n February 2024, Defendants knew about a limited issue reported by their
vendor affecting two unique scenarios of chats and that there was a possibility that the issue
impacted some portion of the collections in this case.”) (emphasis in original). That is wrong.
Defendants should have kept Plaintiffs, the Magistrate Judge, and the Court apprised as they
learned of the discovery violation themselves. See Jianjun Chen v. 2425 Broadway Chao Rest.,
LLC, 331 F.R.D. 568, 571 (S.D.N.Y. 2019) (“[A]ll attorneys conducting discovery owe the court
a heightened duty of candor.”); Joint Stock Co. "Channel One Russia Worldwide" v. Infomir LLC,
16 Civ. 1318, 2020 WL 1479018, at *8 (S.D.N.Y. Mar. 26, 2020) (“[E]ven if Plaintiffs’
misrepresentations began as innocent errors, rather than take timely and meaningful steps to
consider the alleged errors once brought to Plaintiffs’ attention, Plaintiffs persistently insisted that
they were in full compliance with their discovery obligations.”); see, e.g., In re Filosa, 976 F.
Supp. 2d 460, 469 (S.D.N.Y. 2013) (ordering attorney suspension and rejecting argument that
attorney acted in good faith when he waited for client to collect all documents before making a
supplemental production).
       5
         See Fourth Amended Scheduling Order, ECF No. 259 (ordering the April 21, 2023,
deadline for Plaintiffs’ amendment, without acknowledging Defendants’ reservation of rights);
Memo Endorsement, ECF No. 269 (extending date to April 28, 2023).
       6
          Defendants cast the timing of Plaintiffs’ filing as a “strategic decision to wait to identify
their new theory of the case.” Response Letter at 8. That characterization is factually wrong. As
Plaintiffs have stated repeatedly, they put Defendants on notice of the forthcoming lending
     Case 1:18-cv-02268-AT-SN            Document 366        Filed 01/31/25     Page 4 of 5




The Honorable Analisa Torres
January 31, 2025
Page 4


Corp., No. 08-CV-9464, 2010 WL 11595698, at *6-7 (S.D.N.Y. Dec. 16, 2010) (finding good
cause to amend where securities-fraud plaintiff “waited almost a year in some cases, and in no case
less than six months, after it obtained the relevant discovery” to move for amendment “in light of
the enormous amount of discovery . . . , the heightened pleading standard for fraud claims, the
evidence secured in discovery that forms the basis for the proposed amendments, and the absence
of any tactical advantage obtained as a result of the delay”).

        The Magistrate Judge’s Opinion. The Magistrate Judge’s Opinion turned largely on a
finding that allowing Plaintiffs’ amendment would disrupt and prolong discovery. As discussed
previously, that finding was legally erroneous; absent bad faith, delay alone does not amount to
undue prejudice that justifies denial of leave to amend. 7 See Objection at 7 (citing Block v. First
Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993)). That is true even where amendments introduce
new defendants or claims (which Plaintiffs do not do here). See id. (citing United States v.
Continental Ill. Nat’l Bank & Trust Co. of Chi., 889 F.2d 1248, 1255 (2d Cir. 1989)). We now
know, however, that in addition to this legal issue, the Opinion was based on an incomplete factual
record. The Magistrate Judge believed that discovery was complete when she issued her Opinion.
It was not, however, because Defendants had yet to produce these relevant and important
Bloomberg messaging communications. See Letter from Michael Eisenkraft to Judge Torres, Dec.
20, 2024, ECF No. 360 at 5-8 (explaining the significance of the withheld documents). 8




allegations throughout discovery. See Mem. in Support of Mot. to Amend, ECF No. 304 at 6-12
(Plaintiffs inquired about Credit Suisse’s lending in October 2021, asked lending-related questions
in depositions between November 2022 and April 2023, and issued third party subpoenas on
lending in January 2023). Defendants’ apparent suggestion that Plaintiffs amended the complaint
in the midst of ongoing depositions probing the forthcoming lending allegations is also obviously
impractical.
       7
        The Opinion did not find that Plaintiffs had unduly delayed or acted in bad faith in
proposing their amendments. See Opinion at 8 n.2.
       8
         Defendants argue that “Plaintiffs Do Not Explain How the Handful of Bloomberg Chats
They Identify Would Result in a Different Outcome on Their Motion to Amend.” See Response
Letter at 6-8. This is perplexing. Notifying the Court that Defendants anticipated making
additional post-discovery productions would have been material to the Magistrate Judge—who
denied amendment largely based on her understanding that discovery had closed. This is especially
true because the missing documents concern the discovery Plaintiffs took regarding the lending
allegations. See Response Letter at 6 (“Plaintiffs openly acknowledge that . . . the issues these
documents allegedly relate to . . . are issues Plaintiffs have thoroughly explored throughout
discovery in this case.”).
     Case 1:18-cv-02268-AT-SN            Document 366        Filed 01/31/25      Page 5 of 5




The Honorable Analisa Torres
January 31, 2025
Page 5


        To the extent the Magistrate Judge’s ruling was based on Plaintiffs’ decision not to rely on
Defendants’ very early, self-serving representations about Credit Suisse’s hedging practices, that
too was clear error and should not preclude amendment. Objection at 12-13. 9 The Magistrate Judge
provided no legal support for the position that Plaintiffs’ independent investigation of Defendants’
claims constitutes unfairness to Defendants. 10 And rightfully so: whatever Defendants may have
said before discovery, they did not disclose what Plaintiffs now allege: that Credit Suisse
knowingly lent 90% of its XIV Notes to short sellers, while fully aware of and modeling for the
inevitable fact that those short-sellers would hedge their exposure during the next volatility spike,
thereby crashing XIV out of existence. Objection at 12-13. Sjunde AP-Fonden v. Gen. Elec. Co.,
341 F.R.D. 542, 551 (S.D.N.Y. 2022) (granting motion for leave to amend a sixth time because
“Plaintiffs could not have successfully filed their proposed amendment before receiving the
documents they received during fact discovery”).

                                  *       *      *       *       *

        Defendants mistakenly characterize Plaintiffs’ briefing on this issue as a request for
sanctions. See Response Letter at 9-10 (“It appears Plaintiffs may be seeking the requested relief
as some form of discovery sanction under Rule 37.”). It is not. Plaintiffs explain only that the
existence of these responsive, unproduced documents which were, until now, concealed from
Plaintiffs, the Magistrate Judge, and this Court, undermines the factual foundation of the
Magistrate Judge’s understanding that discovery had closed and reopening discovery would
unduly prejudice Defendants. Plaintiffs’ amendment should be permitted for the additional reason
that, as Plaintiffs and the Court now know, discovery was not even complete when Plaintiffs
moved to amend their complaint.

                                              Respectfully submitted,

                                              /s/ Michael Eisenkraft
                                              Michael Eisenkraft

                                              Counsel for Lead Plaintiffs
cc: All Counsel of Record (via ECF)


       9
           Defendants propound this error in their Response Letter. See Response Letter at 2
(criticizing Plaintiffs for assessing the veracity of Defendants’ assertions through discovery).
       10
         The statement the Magistrate Judge relied upon was a bald and incomplete statement
made during settlement negotiations, prior to fact discovery, and should not have been considered
under a Rule 15 analysis. Objection at 12. The Magistrate Judge did not acknowledge this in the
Opinion.
